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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS
___________________________________________
                                              )
PEDRO LOPEZ; ABEL CANO;                       )
KEVIN SLEDGE; CHARLES DEJESUS;                )
RICHARD BROOKS; ROBERT ALVAREZ,               )
MARISOL NOBREGA; SPENCER TATUM; THE           )
MASSACHUSETTS HISPANIC LAW                    )
ENFORCEMENT ASSOCIATION; INDIVIDUALLY         )
AND ON BEHALF OF A CLASS OF INDIVIDUALS       )
SIMILARLY SITUATED,                           )
            Plaintiffs                        )
                                              )
v.                                            )
                                              ) Case No. 07-CA-11693-JLT
CITY OF LAWRENCE, MASSACHUSETTS;              )
CITY OF METHUEN, MASSACHUSETTS;               )
COMMONWEALTH OF MASSACHUSETTS;                )
PAUL DIETL, IN HIS CAPACITY AS PERSONNEL )
ADMINISTRATOR FOR THE COMMONWEALTH            )
OF MASSACHUSETTS, HUMAN RESOURCES             )
DIVISION; JOHN MICHAEL SULLIVAN, IN HIS       )
CAPACITY AS MAYOR OF THE CITY OF              )
LAWRENCE, MASSACHUSETTS;                      )
WILLIAM MANZI, III, IN HIS CAPACITY AS        )
MAYOR OF CITY OF METHUEN,                     )
MASSACHUSETTS; CITY OF LOWELL,                )
MASSACHUSETTS; WILLIAM F. MARTIN, IN HIS      )
CAPACITY AS MAYOR OF THE CITY OF LOWELL, )
MASSACHUSETTS; CITY OF WORCESTER,             )
MASSACHUSETTS; and KONSTANTINA B. LUKES, )
IN HIS CAPACITY AS MAYOR OF THE CITY OF       )
WORCESTER, MASSACHUSETTS,                     )
            Defendants                        )
___________________________________________)

              PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
                MOTION FOR CLASS CERTIFICATION PURSUANT
               TO FEDERAL RULE OF CIVIL PROCEDURE 23(b)(2)

I.    INTRODUCTION.

      The plaintiffs in this action assert that the recent police sergeant’s examinations

(like all prior exams over the last 20 years) given by the defendant Commonwealth of



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Massachusetts (in those cities and towns covered by the civil service law and who used

such examination) has an overwhelming disparate impact upon minority police officers

seeking promotion, and cannot be shown to be valid under the criteria enumerated by

Congress, the federal courts, the EEOC, and state law M.G.L. ch. 151B. The plaintiffs

assert that the continued use of these discriminatory written police sergeant promotional

exams (particularly in large cities like Lawrence, Worcester, Lowell, Lynn, Springfield

and Boston) have resulted in significantly disproportionately low numbers of minority

sergeants compared with the proportion of corresponding minority police officers in such

cities.

          Pursuant to Federal Rule of Civil Procedure Rule 23, the plaintiffs now move for

class certification. Although the defendant Commonwealth of Massachusetts has

indicated that it will oppose class certification, plaintiffs’ counsel are not aware of the

grounds for such opposition. Accordingly, upon receiving such opposition, plaintiffs’

counsel would expect to file a reply brief addressing specific concerns raised by the

defendants in their opposition, if not addressed here. In addition, to the extent that the

defendants make any factual objections, such as that the class is not sufficiently

numerous, then plaintiffs would ask the court (if this court deems it necessary) to stay

deciding the motion for class certification until the data necessary to make this proper

analysis has been divulged by the Commonwealth. Plaintiffs would further note that this

data has not yet been supplied to plaintiffs’ counsel, though was requested months ago.

          The plaintiffs request this court to certify this action to proceed as a class action

specifically pursuant to Rule 23(b)(2). The class would consist of all minorities (Black

and Hispanic) who have taken or seek to take in the future the police sergeant’s civil




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service examination for the position of police sergeant within the Commonwealth of

Massachusetts. As set forth below, this motion to certify should be granted.



II.    PLAINTIFFS SATISFY THE REQUIREMENTS OF RULE 23(a).

       Federal Rule of Civil Procedure 23(a) requires as a prerequisite to class

certification that (1) the class is so numerous that joinder of all members is impractical

(numerosity); (2) there are questions of law or fact common to the class (commonality);

(3) the claims or defenses of the representative parties are typical of the claims or

defenses of the class (typicality); and (4) the representative parties will fairly and

adequately protect the interests of the class (adequacy). See generally Rodriques v.

Members Mortgage Company, 226 F.R.D. 147, 150 (D. Ma. 2005); Smilow v.

Southwestern Bell Mobile Systems, Inc., 323 F.3d 32, 38 (1st Cir. 2003).



       A.     Numerosity.

       The first prerequisite requires “a showing that there is a class of persons which is

so numerous that joinder of all members is impracticable.” See Guckenberger v.

Boston University, 957 F.Supp. 306, 325 (D. Ma. 1997). In the present case, it is clear

that the class which plaintiffs seek to certify easily runs into the hundreds. Data

acquired by the Boston Globe and data reviewed by plaintiffs’ counsel during litigation in

the case of Bradley, et al. v. City of Lynn, indicates that in large cities and towns

throughout Massachusetts, there are hundreds of Black and Hispanic police officers

who are eligible for promotion to the position of sergeant. From interviews with named

plaintiffs in just the cities of Worcester, Lowell, and Lawrence, and then extrapolating




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that data to other large cities such as Springfield, Boston, Lynn, Quincy, Haverhill, etc.

There are well more than one hundred Black and Hispanic police officers who have

taken the police sergeant’s examination since 2006 and who have not been reached for

hire. Further, that number will increase significantly once the 2008 sergeants exam is

given sometime this year.1

        Since the plaintiffs are seeking injunctive relief with respect to future

examinations (requiring such examinations to be valid predictors of job performance in

accordance with EEOC guidelines and to minimize disparate impact), many more

minority officers would make up the class with respect to prospective relief. Thus, the

class would include not only minority police officers who took the 2006 and 2007

sergeant’s examinations, but all minority police officers who have an interest in having a

non-discriminatory exam in future years.

        While it is certainly true that plaintiffs do not as of this date have the exact data

on how many minorities took the 2006 and 2007 police sergeant’s examination,

plaintiffs’ counsel is aware that HRD has this information and has already crunched the

numbers.2 Since courts in this district have typically held that a “40-person class is

generally found to establish numerosity,” see McLaughlin v. Liberty Mutual Insurance

Company, 224 F.R.D. 304, 307 (D. Ma. 2004); McAdams v. Massachusetts Mutual Life

Insurance Company, 2002 W.L. 1067449 (D. Ma. 2002), it is clear that the class here is

sufficient to satisfy numerosity. However, as stated above, should there be any doubt



1
        The statewide civil service police sergeant’s exam is given once every two years and will thus be
given in the spring of 2008.
2
        Counsel for the plaintiffs, Harold L. Lichten, has been informed by Assistant Attorney General
Quinan, that the Commonwealth has already analyzed (for disparate impact) the 2006 police sergeant
examination numbers.


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on this question, and should defendants contend otherwise, then the court should not

rule until the Commonwealth has furnished this data to plaintiffs.

       It is extremely common for federal courts to certify class actions in cases

involving disparate impact and/or discrimination challenges to promotional

examinations, even where the number of exam takers is less than here. See, for

example, Wilmington Fire Fighters, Local 1590 v. City of Wilmington, 632 F.Supp. 1177

(D. Del. 1986) (certifying a class under Rule 23(b)(2) of “all present or future uniformed

employees of the City of Wilmington Fire Department who took the 1984 promotional

exam or who are eligible for future promotional exams”); Scott v. City of Anniston, 682

F.2d 1353 (11th Cir. 1982) (certifying class of public works employees who took written

promotional examinations); Chicago Fire Fighters Union, Local No. 2 v. City of Chicago,

1990 W.L. 70515 (N.D. Ill.) (certifying class of 260 white males who took 1986 fire

lieutenants promotional examination); Majeske v. City of Chicago, 740 F.Supp. 1350

(N.D. Ill. 1990) (agreeing that it was proper under certain conditions to certify class of

Caucasian police officers who sat for detectives promotional exam); Allen v. City of

Chicago, 2001 W.L. 1548966 (N.D. Ill.) (certifying class of African-American and

Hispanic officers who took sergeants promotional exam in August of 1998).

       Indeed, a federal court in this district has previously certified an even smaller

class challenging the civil service police sergeant’s examination in the Boston Police

Department. See Afro-American Police, Inc. v. Boston Police Department, 973 F.2d 18

(1st Cir. 1992), discussed in more detail in Boston Police Superior Officers Federation v.

City of Boston, 147 F.3d 13, 15 (1st Cir. 1998).




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       While it is anticipated that the defendants might argue that the proposed class

should only include those minority applicants who would have actually been reached

and promoted absent a discriminatory promotional process, this attempted restriction is

not proper under relevant case law. The law is clear that a class seeking prospective

relief on a disparate impact discrimination challenge to an examination properly includes

all minority applicants who took or will take the challenged discriminatory examination

as it was the examination that did not permit them “to compete on an equal footing.”

See Texas v. LeSage, 528 U.S. 18, 21 (1999). Further, the First Circuit has made clear

in Donahue v. City of Boston, 371 F.3d 7, 11-12 (1st Cir. 2004) that individuals subjected

to a discriminatory hiring process have standing to challenge the process even if the

presence of so many other applicants higher on the hiring list would have made it

unlikely that those individuals would have been hired anyway. Accordingly, the

proposed class in this case consists of all minorities who took or will take the

defendants’ civil service police sergeant promotional examination – not those who

would have actually been hired, even if it were possible to determine those individuals

at the present time. See Wooden v. Board of Regents of the University System of

Georgia, 247 F.3d 1262, 1279 (11th Cir. 2001). Further, as the U.S. Supreme Court

recently summarized in noting the difference between discrimination claims for

damages and those for prospective relief:

       A plaintiff who challenges an ongoing race conscious program and seeks
       forward looking relief need not affirmatively establish that he would receive
       the benefit in question if race were not considered. The relevant injury is
       “the inability to compete on an equal footing.”

Texas v. LeSage, 528 U.S. 18, 21 (1999) (quoting Northeastern Florida Association of

General Contractors v. Jacksonville, 501 U.S. 656, 666 (1993)).



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       Here, all minority police officers in Massachusetts have the right to take an

nondiscriminatory examination under Title VII of the Civil Rights Act of 1964 and M.G.L.

ch. 151B, §4. To the extent that the Commonwealth denied them that opportunity, all

such applicants have standing to pursue a discrimination claim and all should be

counted for numerosity purposes. Indeed, most recently in Bradley, et al. v. City of

Lynn, 443 F.Supp.2d 145 (D. Ma. 2006), Judge Saris agreed with plaintiffs’ contention

that the appropriate class was all minority applicants for the position of fire fighter within

the Commonwealth (in civil service towns) and not just those who were ultimately hired.

(Annexed hereto as Exhibit A.) For all of these reasons, plaintiffs satisfy the numerosity

requirement of Rule 23.



       B.     Commonality.

       It is not anticipated that the defendants will contest the issue of commonality.

This requirement “is satisfied if common questions of law or fact exist and class

members claims are not in conflict with one another.” See Mack v. Suffolk County, 191

F.R.D. 16, 22 (D. Ma. 2000). The commonality requirement “does not require that class

members’ claims be identical” and “a single common legal or factual issue can suffice.”

Id. Here, the class sought to be certified asserts the same basic legal claim, indeed, the

claim is substantially identical. Each class member is a current Black or Hispanic police

officer who took the 2006 civil service police sergeant’s examination administered by

HRD or will take the 2008 examination. The one legal issue to be tried on the question

of liability is whether or not this promotional examination has disparate impact on

minority candidates and if so, whether it has been validated as job related as required




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by federal law, EEOC guidelines, and state law. See generally Castro v. Beecher, 365

F.Supp. 655 (D. Ma. 1973); see also Bradley, et al. v. City of Lynn, 443 F.Supp.2d 145

(2006). In order for the plaintiffs to prevail in this case, they must establish these two

propositions to prevail on liability. These two showings (1) that the sergeant’s

promotional examination has a disparate impact on minorities; and (2) that it has not

been shown to be valid under appropriate legal standards, are issues that are identical

for each class member. Since the class members and named plaintiffs cannot prevail

without this showing, plaintiffs easily meet the commonality requirement.



       C.     Typicality.

       This requirement is similar to commonality and is also “not highly demanding”

because “the claims only need to share the same essential characteristics, and need

not be identical.” Payne v. Good Year Tire, 216 F.R.D. 21, 24-25 (D. Ma. 2003).

Whereas here, “the allegations of the individual named plaintiffs closely track the

broadly framed claims of the class” that typicality requirement is easily satisfied. Id. As

described above, the named plaintiffs’ claims clearly involve questions of law and fact

typical of the majority of similarly situated class members, and therefore the typicality

requirement is satisfied.



       D.     Adequate Representation.

       Finally, the named plaintiffs clearly meet the requirement that the unnamed

plaintiffs are adequately represented. This prerequisite is satisfied when the named

plaintiffs can “demonstrate that their interests will not conflict with those of the class




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members and that their counsel is qualified, experienced, and able to vigorously

conduct the proposed litigation.” Andrews v. Bechtel Power Corp., 780 F.2d 124, 130

(1st Cir. 1985); Mack v. Suffolk County, supra. at 23.

       Here, with respect to the issue of liability, there is no conflict between the named

plaintiffs and the unnamed class members, since the named plaintiffs’ claims are the

same which they assert on behalf of similarly situated candidates for the position of

police sergeant. As stated above, the legal and factual issues to be tried revolve

around whether the sergeant’s examination for police officer in the Commonwealth

violates either Title VII of the Civil Rights Act of 1964 or M.G.L. ch. 151B.

       Moreover, plaintiffs’ counsel will pursue this action vigorously and are committed

to obtaining appropriate remedies on behalf of all class members. Indeed, the claims of

the plaintiffs here are being represented by the law firm of Pyle, Rome, Lichten,

Ehrenberg & Liss-Riordan, a well-known employment rights and class action law firm.

The law firm of Pyle, Rome, Lichten, Ehrenberg & Liss-Riordan has significant

experience in employment discrimination litigation, particularly as it respects police and

fire fighter issues. Most recently, plaintiffs’ counsel successfully represented a class

consisting of minority fire fighter applicants in the Commonwealth of Massachusetts.

See Bradley, et al. v. City of Lynn, 443 F.Supp.2d 145 (2006). Following that success,

plaintiffs’ counsel successfully negotiated a settlement in a companion case involving a

class of minority police officer applicants. Plaintiffs’ counsel has also been successful in

litigating other police officer discrimination classes. See DeLeo, et al. v. City of Boston,

Civil Action No. 03-12538-PBS (D. Ma. 2004), and Quinn, et al. v. City of Boston, 35

F.3d 18 (1st Cir. 2003).




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        In addition, plaintiffs’ counsel, Attorney Shannon Liss-Riordan, is a class action

specialist who has litigated dozens of class actions, including three cases that went to

trial and all resulted in verdicts for the plaintiff class.3 She has also achieved numerous

successes in summary judgment and in settlement of class action cases, as well as

significant rulings on class issues, such as in Skirchak, et al. v. Dynamics Research

Corporation, ___ F.3d ___, 2007 WL 4098823 (1st Cir. Nov. 19, 2007) (class action

waiver in arbitration agreement was invalid as unconscionable); Morton’s Restaurant

Group v. Mark Johnson, et al., (now pending as Civ. Action 07-11808, D. Mass.)

(national class certified for minimum wage tip credit violations). She is an active

plaintiffs’ counsel in national multi-district litigation challenging FedEx Ground’s

classification of its delivery drivers as independent contractors, MDL-1700 – In re FedEx

Ground Package System, Inc., Employment Practices Litigation (No. II). Attorney Liss-

Riordan speaks frequently at local and national conferences as an expert on class

actions and employment litigation.

        Plaintiffs’ counsel would also note that this action is also being brought by the

Massachusetts Hispanic Law Enforcement Association, which represents Hispanic

police officers throughout the Commonwealth. It is also believed that MAMLEO, the

Massachusetts Association of Minority Law Enforcement Officers, will also be

intervening in this case. MAMLEO has been granted intervention status in other similar

cases. See Boston Police Superior Officers Federation v. City of Boston, supra, at 15.




3
        Bradley, et al. v. City of Lynn, et al., 443 F.Supp. 2d 145 (D. Mass. 2006) (with Harold Lichten);
Calcagno, et al. v. High Country Investors, Inc. d/b/a Hilltop Steak House, Mass. Super. Ct. (Essex
County, No. 03-0707) (July 2006); Benoit, et al. v. The Federalist, Inc., Mass. Super. Ct. (Suffolk County,
No. 04-3516) (Dec. 2007).


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III.    THE PLAINTIFFS SATISFY THE REQUIREMENTS FOR A RULE 23(b)(2)
        CLASS.

        In addition to meeting the four requirements above, the proposed class must also

fit into one of the categories set forth in Federal Rule of Civil Procedure 23(b). In this

case, plaintiffs clearly meet the requirements of Rule 23(b)(2) because the defendant

has “acted or refused to act in a manner generally applicable to the class, thereby

making appropriate final injunctive relief or corresponding declaratory relief with respect

to the class as a whole.” See Guckenberger, 957 F.Supp. at 326. In Bradley, et al. v.

City of Lynn, supra, the court certified the class to proceed under Rule 23(b)(2) since

the main relief sought by the plaintiffs was injunctive in nature, declaring that the

firefighter’s exam was invalid, requiring a validated exam, and providing ancillary relief

in the form of hiring to appropriate class members. (Exhibit A) Indeed, the advisory

committee notes to the 1966 amendments to Rule 23 provide that cases in the field of

civil rights “against parties charged with unlawful, class-based discrimination are prime

examples of cases certifiable under Rule 23(b)(2).” Moreover, the fact that ancillary

relief in the form of back pay may ultimately be part of the relief awarded, does not

negate that the action is appropriately certifiable under Rule 23(b)(2). See Scott v. City

of Anniston, supra, at 1358. (“The fact that damages in the form of back pay was also

sought is not inconsistent with the maintenance of a Rule 23(b)(2) class action”).



IV.     CONCLUSION.

        For the reasons set forth herein, the court should granted the requested motion

for class certification.




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                                                            Respectfully submitted,

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                                                            ENFORCEMENT ASSOCIATION,
                                                            INDIVIDUALLY AND ON BEHALF OF A
                                                            CLASS OF INDIVIDUALS SIMILARLY
                                                            SITUATED,

                                                            By their attorneys,




Dated: January 15, 2008                                     s/Harold L. Lichten___________
                                                            Harold L. Lichten, BBO #549689
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Cindy/legal/Harold/Promotional Exam/memo of law re motion for class certification




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